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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION



ALEJANDRO FIGUEREDO,

       Plaintiff,

vs.                                                     CASE NO. 4:04cv323-RH/WCS

LYNN HILL, Assistant Warden,
LAUNDRY ROOM SERGEANT,
LAUNDRY ROOM OFFICER

       Defendants.

                                        /


                                        ORDER

       This cause is before the Court upon order of remand from United States District

Judge Robert Hinkle. Doc. 30. All claims against Defendant Crosby have been

dismissed and that Defendant is no longer a party in this case. Id. Plaintiff should omit

Defendant Crosby from the list of Defendants on the first page of future documents he

submits to the Court. This complaint now proceeds against the only other served

Defendant in this case, Assistant Warden Lynn Hill. Defendant Hill has been granted an

enlargement of time in which to file the special report. Docs. 28, 29. The report is due

to be filed on or before May 25, 2005. Doc. 29. Plaintiff will be notified by the Court as

to when he should respond to the special report and need not file anything until he is

ordered to do so.
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        Plaintiff is reminded that service was not, (see doc. 14) and cannot be, directed

on unknown Defendants. It is Plaintiff's responsibility to determine the names and

identities of those unknown John Doe Defendants if he intends to bring claims against

them. Plaintiff may be able to determine these unknown persons through the special

report process. If that does not reveal their identities, Plaintiff may file a motion for

discovery; however, Plaintiff should not file such a motion until after Defendant Hill has

filed the special report.

        Accordingly, it is ORDERED that the Clerk of Court shall return this file to the

undersigned upon receipt of Defendant Hill's response to Plaintiff's amended complaint,

or no later than May 25, 2005.

        DONE AND ORDERED on May 16, 2005.



                                           s/ William C. Sherrill, Jr.
                                           WILLIAM C. SHERRILL, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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